JS 44 	 (Rev. 09/11)                          Case 2:12-cv-00466-CW
                                                               CIVILDocument
                                                                     COVER 1SHEET
                                                                              Filed 05/11/12 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provide<
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use ofthe Clerk of Court for the purpose ofmitiatin!
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORA.f.)

I. (a) PLAINTIFFS                                                                                                                 DEFENDANTS
GRAND COUNTY, UTAH, a political subdivision; STATE OF UTAH                                                                       UNITED STATES OF AMERICA, UNITED STATES DEPARTMENT
                                                                                                                                 OF THE INTERIOR, NATIONAL PARK SERVICE, and BUREAU OF
                                                                                                                                 LAND MANAGEMENT
     (b)           County of Residence ofFirst Listed Plaintiff              Grand County, Utah                                   County of Residence of First Listed Defendant
                                      (EXCEPT IN        u.s. PLAIN77F'F CASh"S)                                                                                      (IN u.s PLAIN17FF CASES ONLY)
                                                                                                                                  NOTE:                            IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                   THE TR ACT OF LAND INVOL VED.



     (c) Attorneys (Finn Name,          Address, and Telephone Number)                                                            Attorneys (lfKnown)

See Complaint

n.       BASIS OF JURISDICTION                                (Place an "X" in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an "X" 111 One Boxjor Piain/1L
                                                                                                                    (For DIversity Cases Only)                                                         and One Box lor Dejimdantj
o    I    U.S. Government                   o     3 Federal Question                                                                         PTF                        DEF                                           PTF      DEll
             Plaintiff                                (u. S. Government Nat a Party)                           Citizen of This State          0 I                       0 1       Incorporated or Principal Place      0 4      0 4
                                                                                                                                                                                  of Business In This State

~ 2       U.S. Government                   o     4 Diversity                                                  Citizen of Another State                                           Incorporated and Principal Place
             Defendant                                (Indicate Citizenship 01 Partie.< In Item Ill)                                                                                 of Business In Another State

                                                                                                               Citizen or Subject of a                       03          0        Foreign Nation                             o    6   0   6
                                                                                                                 Forei Coun
IV. NATURE OF SUIT                          (Place an "X" in One Box Only)
 i2i';';'·"<·' .
o     110 Insurance                        PERSONAL INJURY                       PERSONAL INJURY               o 625 Drug Related Seizure                          o 422 Appeal 28 USC 158                  o   315 False Claims Act
o     120 Marine                         o 3 I 0 Airplane                      0 365 Personal Injury ­                 of Property 21 USC 881                      o 423 Withdrawal                         o   400 State Reapportionment
o     130 Miller Act                      o315 Airplane Product                      Product Liability         o   690 Other                                                 28 USC 157                     o   410 Antitrust
o     140 ~egotiable Instrument                   Liability                    0 367 Health Carel                                                                                                           o   430 Banks and Banking
o I 50 Recovery of Overpayment o 320 Assault, Libel &                                Pharmaceutical                                                                                       .,       $~:2:;   o   450 Commerce
               & Enforcement of Judgment          Slander                            Personal Injury                                                               o   820 Copyrights                       o   460 Deportation
CJ 151 Medicare Act                       o330 Federal Employers'                    Product Liability                                                             o   830 Patent                           o   470 Racketeer Influenced and
o     152 Recovery of Defaulted                   Liability                    0 368 Asbestos Personal                                                             o   840 Trademark                                Corrupt Organizations
                Student Loans            0340 Marine 	                                Injury Product                                                                                                        o   480 Consumer Credit
               (Excl Veterans)            o345 Marine Product                         Liability                         '.T:m:::     fAtOUK ..... ·.··   ::::un.                                            a   490 Cable/Sat TV
o 153 Recovery of Overpayment                     Liability                        PERSO~ALPROPERTY            o 710 Fair Labor Standards                          CJ 861 HIA(1395ft)                       a   850 SecuotieslCommoditiesl
               of Veteran's Benefits     o 350 Motor Vehicle                   0    370 Other Fraud                    Act                                         a   862   Black Lung (923)                       Exchange
o     160 Stockholders' Suits            0355 Motor Vehicle                    0    371 Truth in Lending       o   720 LaborlMgmt. Relations                       o   863   DlWClDlWW (405(g))             0   890 Other Statutory Actions
o 190 Other Contract                             Product Liability             0    380 Other Personal         o   140 Railway Laber Act                           o   864   SSID Title XVI                 0   891 Agricultural Acts
o 195 Contract Product Liability          o360 Other Personal                           Property Damage        o   751 Family and Medical                          o   865   RSI (405(g))                   0   893 Environmental Matters
o 196 Franchise                                  Injury                        0    385 Property Damage                Leave Act                                                                            0   895 Freedom of Information
                                          o362 Personal Injury-                         Product Liability      o   790 Other Labor Litigation                                                                       Act
                                                 Med. Malpractice                                              a   791 Empt. Ret. Inc.                                                                      o   896 Arbitration
   'i··: . . :·.REN <pm                                                                                                Security Act                                               "Tfi:'SI!.Ill'SJe 0           899 Administrative Procedure
o     210 Land Condemnation              a 440 Other Civil Rights              0 510 Motions to Vacate                                                             o   870 Taxes (U.S. Plaintiff                    ActlReview or Appeal of
o     220 Foreclosure                    0441 Voting                                 Sentence                                                                              or Defendant)                            Agency Decision
CJ 230 Rent Lease & Ejectment             o442 Employment                        Habeas Corpus:                                                                    o   871 IRS-Third Party                  0   950 Constirutionality of
o 240 Torts to Land                       o443 Housing!                        0 530 General                                                                               26 USC 7609                              State Starutes
a 245 Tort Product Liability                     Accommodations                0 535 Death Penalty            ~~::(;~:~.;   ..


tl{ 290 All Other Real Property           o445 Amer. wlDisabilities­           0 540 Mandamus & Other          o 462 Naturalization Application
                                                 Employment                    0 550 Civil Rights              a 463 Habeas Corpus ­
                                         o 446 Amer. w/Disabilities •          0 555 Prison Condition                  Alien Detainee
                                                 Other                         0 560 Civil Detainee ­                  (Prisoner Petition)
                                          o448 Education                             Conditions of             o   465 Other Immigration
                                                                                     Confinement                       Actions

V. ORIGIN                         (Place an "X"   In   One Box Only)
~ I 	 Original                o    2 Removed from          0 3 Remanded from                       .	
                                                                                         O 4 Remstate    d        0 5 Transferred from 0 6 M I 'd' .
                                                                                                            or              another district                 .U 11 !strlct
          Proceeding                 State Court                    Appellate Court              Reopened                    J eCI                          Llttgatlon
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                   28 U.S.C. Section 2409a
VI.      CAUSEOFACTION~~~~~~~~----------------------------------------------------



VII. REQUESTED IN                                        CHECK IF THIS IS A CLASS ACTION                           DEMANDS                                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                                          UNDER F.R.C.P. 23                                                                                                     JURY DEMAND:                      0 Yes       OtNo
VIII. RELATED CASE(S)
                                                       (See instruction<;'
      IF ANY                                                                  JUDGE 	                                                                                  DOCKET NUMBER

DATE 	                                                                              SIGNATURE OF AHORNEY OF RECORD
05/11/2012                                                                         lsI Roger R. Fairbanks #3792                                     Case: 2: 12-cv-00466
FOR OFFICE USE ONLY                                                                                                                                 Assigned To : Nuffer, David
                                                                                                                                                    Assign_ Date: 05/11/2012
    RECEIPT #                         AMOUNT 	                                        APPL YING IFP
                                                                                                                                                    Description: Grand County et al v USA et al
                                                                9:W,',1f.
